    Case: 1:21-cr-00336 Document #: 97 Filed: 09/22/21 Page 1 of 1 PageID #:227




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )       No. 21 CR 336-04
             v.                         )
                                        )       Judge Matthew F. Kennelly
OSCAR BALDERAMA                         )

                              ORDER OF DISMISSAL

      A motion having been made before me by JOHN R. LAUSCH, JR., United

States Attorney for the Northern District of Illinois, to dismiss the criminal complaint

in the instant matter without prejudice as to the above-named defendant only:

      It is hereby ORDERED that the criminal complaint in this matter be dismissed

without prejudice as to the above-named defendant only.



                                        ENTERED:


                                        ______________________________
                                        MATTHEW F. KENNELLY
                                        United States Magistrate Judge

Dated: September 22, 2021




                                            1
